442 F.2d 384
    UNITED STATES of America,v.Raymond BINET, Appellant.
    Docket 34526.
    United States Court of Appeals, Second Circuit.
    January 13, 1971.
    
      Application for entry of judgment pursuant to opinion and order of January 13, 1971, reported at 442 F.2d 296, 300.
      Robert Kasanoff, Robert H. Levy, Phylis Skloot Bamberger, New York City, for appellant.
      Rudolph W. Giuliani, Asst. U. S. Atty., Whitney North Seymour, Jr., U. S. Atty., for United States.
      Before WATERMAN, MOORE and HAYES, Circuit Judges.
      PER CURIAM:
    
    
      1
      Pursuant to our order upon the petitition for rehearing, reported at 442 F. 2d 302, Judge Irving Ben Cooper, the trial judge, held an evidentiary hearing in order to develop the facts bearing upon the issue of delay prior to appellant's arraignment. His findings and opinion have been delivered to the court, and we affirm the disposition he made and enter judgment in accord therewith.
    
    
      2
      He found that appellant's detention was for a "longer period than [was] necessary to produce the juvenile before a committing magistrate," 18 U.S.C. § 5035.
    
    
      3
      Accordingly, the order we entered after our original disposition of this case, reported at 442 F.2d 296, 300, is reinstated. We are informed that the Government has no objection to our immediate issuance of our mandate.
    
    
      4
      In accord with our original opinion the case is remanded to the United States District Court for the Southern District of New York for a new trial.
    
    
      5
      Mandate to issue forthwith.
    
    